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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 DONALD J. TRUMP; THE TRUMP
 ORGANIZATION, INC.; TRUMP
 ORGANIZATION LLC; THE TRUMP
 CORPORATION; DJT HOLDINGS LLC;
 THE DONALD J. TRUMP REVOCABLE
 TRUST; and TRUMP OLD POST OFFICE
 LLC,

                                 Plaintiffs,

         v.                                                   Case No. 1:19-cv-01136-APM

 MAZARS USA LLP,

                                 Defendant,

 COMMITTEE ON OVERSIGHT AND
 GOVERNMENT REFORM OF THE
 U.S. HOUSE OF REPRESENATIVES,

                      Intervenor-Defendant.


INTERVENOR-DEFENDANT’S RESPONSE TO THE COURT’S MAY 9, 2019 ORDER

        Pursuant to the Court’s May 9, 2019 Order (ECF No. 25), Intervenor-defendant

Committee on Oversight and Reform of the U.S. House of Representatives advises the Court that

it agrees with consolidation of the May 14, 2019 hearing with a trial on the merits under Federal

Rule of Civil Procedure 65(a)(2). The Committee agrees with the Court’s conclusion that a final,

merits determination is appropriate at this juncture.

        This matter exclusively involves questions of law, and discovery is neither necessary nor

permitted. See, e.g., U.S. Const., art. 1, § 6, cl. 1; Eastland v. U. S. Servicemen’s Fund, 421 U.S.

491, 503 (1975) (“Legislators acting within the sphere of legitimate legislative activity should be




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protected not only from the consequences of litigation’s results but also from the burden of defending

themselves.”) (quotation marks omitted).

       In the event that the Court declines to consolidate tomorrow’s hearing under Rule 65(a)(2),

the Committee nonetheless urges the Court to proceed with a hearing on the motion for a preliminary

injunction. As the Committee has already noted, plaintiffs’ complaint lacks merit and an expeditious

resolution of the subpoena’s validity is necessary for the Committee’s investigations to continue. See

Opp’n at 26-27; Munaf v. Geren, 553 U.S. 674, 705 (2008).


                                               Respectfully submitted,

                                               /s/ Douglas N. Letter
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May 13, 2019




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                                CERTIFICATE OF SERVICE

       I certify that on May 13, 2019, I caused the foregoing document to be filed via this

Court’s CM/ECF system, which I understand caused service on all registered parties.



                                                    /s/ Douglas N. Letter
                                                    Douglas N. Letter
